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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF FLORIDA
                    TALLAHASSEE DIVISION

KISHA SINGLETARY,

     Plaintiff,

v.                                     Case No. 4:24cv478-MW/MAF

UNITED STATES OF
AMERICA,

     Defendant.


           REPORT OF RULE 26 INITIAL CONFERENCE

      Pursuant to Rule 26(f), Federal Rules of Civil Procedure, and this

Court's Initial Scheduling Order, the parties’ planning meeting was held

beginning on March 18, 2025. Participating in the telephone conference

were James Cook and James Slater counsel for the Plaintiff, and Andrew

Grogan, counsel for the Defendant. The parties respectfully submit this

joint report for the Court’s consideration.

      1.    Magistrate    Judge     Jurisdiction:      The      parties   have

conferred about magistrate judge jurisdiction over the case.
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     2.        Claims, Defenses, & Principal Disputed Issues: This case

involves allegations that the Federal Bureau of Prisons caused the

Plaintiff to be sexually abused while an inmate at FCI-Tallahassee. The

plaintiff brings negligence and battery claims under the Federal Tort

Claims Act. The principle disputed factual and legal issues are:

          a.     Whether Defendant breached a duty of care under Florida

law which caused the plaintiff injuries.

          b.     Whether a BOP officer sexually abused Plaintiff.

          c.     Whether exceptions to the FTCA waiver of sovereign

immunity apply.

          d.     The nature and extent of the Plaintiff’s damages, if any.

     3.        Settlement and Mediation. The parties believe settlement

may be possible after the exchange of information during discovery and

request a mediation date to be set after the Court rules on any motion for

summary judgment. Defendant requests that an Assistant U.S. Attorney

appear for the government according to Department of Justice

procedures       for   consideration     and     approval     of     settlement

recommendations.
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        4.    Amendment and Joinder. The parties request that the

deadline for amendment of the pleadings or the joinder of parties or

claims be thirty (30) days prior to the close of discovery. Further amended

pleadings and/or joinder of additional parties is not anticipated.

        5.    Discovery requirements: The parties jointly propose to the

Court the following discovery plan:

             a.    The parties request a discovery deadline of October 1,

2025.

             b.    Initial Disclosures: The parties will exchange the

information required by Rule 26(a)(1), Federal Rules of Civil Procedure

within the time set by the initial scheduling order.

             c.    Expert   Disclosures:   Concerning     expert    discovery

regarding damages, the parties suggest the following plan. Plaintiff will

submit Rule 16(a)(2) disclosures within the time set by the initial

scheduling order. Defendant requests a space in time between those

disclosures to obtain discovery from Plaintiff (e.g., request for production,

admissions, interrogatories) and subpoenas to medical providers, to take

Plaintiff’s deposition, and to then hire appropriate experts, and to take
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depositions of Plaintiff’s experts, with Defendants expert deadline being

September 2, 2025. The time between September 2, 2025, and October

1, 2025, will allow for Plaintiff to depose Defendants experts before the

close of discovery.

           d.     The parties presently do not request any deviation from

the Federal Rules of Civil Procedure regarding interrogatories,

production requests, and requests for admission.

           e.     To facilitate the discovery needed on the Plaintiff’s

medical history and care by her medical providers, the plaintiff agrees to

provide a copy of her medical records within her possession and will

execute a HIPAA-compliant written release for each of their medical

providers from whom they have received relevant medical care upon

receipt of a mutually agreeable authorization from Defendant. The

parties agree to entry of a HIPAA-compliant qualified protective order if

necessary and submit same for the Court’s consideration.

           f.     Discovery will be needed on the following non-exclusive

list of issues:
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               (1) the circumstances surrounding the incident in question;

and

               (2) The plaintiff’s medical history, treatment following the

incident, and any future treatment.

               (3) The parties agree that expert discovery will relate to any

witness who will be used at trial to present evidence under Federal Rule

of Evidence 702, 703, or 705; and, that written communications and

drafts, including draft reports, in whatever form, protected by Rule

26(b)(4), Federal Rules of Civil Procedure, need not be logged on the

parties’ respective privilege logs.

          g.       The parties agree to service of discovery requests and

responses by e-mail.

          h.       The parties anticipate that discovery may involve

information concerning a non-party victim of sexual abuse by a former

employee of BOP or persons making similar allegations. See paragraph

8 below. To ensure the privacy of any such individual, the parties request

that the Court order that such material (to be designated as such by

whatever party produces it) shall only be used for the litigation of this
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case unless there is a further order of the Court authorizing its use

elsewhere, and the identity of any such victim or alleged victim shall not

be publicly revealed in any court filing, hearing, or exhibit without

express permission of the Court. The proposed protective order will likely

also cover records produced in discovery which may be subject to the

Privacy Act.

     6.    Electronic/computer-based media:

          a.     The parties agree to the production of data reasonably

available in the ordinary course of business.

          b.     The parties do not presently anticipate that data beyond

that reasonably available in the course of business will be sought. The

parties agree to the exchange of documents and information in “.pdf”

format except as otherwise noted herein.           To the extent possible,

photographs and videotape, if any, shall be produced in its original

format.

          c.     The parties agree that for discovery requests which

potentially call for the production of emails, the requesting party will
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specify accounts to be searched by name of the person (or category of

persons), the date range, and the search terms to be used.

          d.     The exchange of information will take place by the

production by USB, hard drive, or by the Department of Justice’s USAFX

secure file exchange system.

          e.     The parties have taken reasonable measures to preserve

potentially discoverable data from alteration or destruction in the

ordinary course of business or otherwise.

          f. The parties agree that any inadvertent inclusion of any

privileged material in a production response or a Rule 26 disclosure shall

not result in the waiver of any associated privilege, nor result in a subject

matter waiver of any kind. The parties agree to return any privileged

material inadvertently disclosed immediately upon notice of the

disclosure. Both parties agree that no copies of inadvertently disclosed

materials will be retained following return to the disclosing or producing

party. The parties agree, however, that the disclosure of any particular

material shall cease to be “inadvertent” if, seven (7) days after the

receiving party notifies the producing party that it has received what
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appears to be privileged material, the producing party does not request

the return of the privileged matter.

          g.     The parties do not anticipate any particular issues

regarding claims of privilege or protection as trial preparation materials

at this time. Further, the parties agree that the work product of counsel,

and correspondence directly to or from counsel, shall not require logging

on the parties’ respective privilege logs.

     7.    Trial Date: The parties request the Court set a trial date in

approximately March 2026.

     8.    Other matters: Pursuant to Local Rule 5.6, the parties give

the Court notice that this case may involve issues of fact in common with

the issues in United States v. Hatten, 4:23cr18-RH/MAF (N.D. Fla.).

     9.    Manual for Complex Litigation: The parties do not believe

it appears that this case should be made subject to the Manual for

Complex Litigation.
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 Dated: March 19, 2025

                                   Respectfully submitted,

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